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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

      * * * * * * * * * * * * * * * * * * *

United States of America,

                   Plaintiff,
                                           REPORT AND RECOMMENDATION
      vs.

Robert Charles Gutz (01), and
Mindy Lea Lackore-Mueller,
a/k/a Mindy Lea Lackore (02),

                   Defendants.                   Crim. No. 08-260 (DSD/RLE)

      * * * * * * * * * * * * * * * * * * *

                                  I. Introduction

      This matter came before the undersigned United States Magistrate Judge

pursuant to a general assignment, made in accordance with the provisions of Title 28

U.S.C. §636(b)(1)(B), upon the following Motions of the Defendants Robert Charles

Gutz (“Gutz”), and Mindy Lea Lackore-Mueller (“Lackore”):

            1.     Lackore’s Motion to Suppress              Statements,
                   Admissions, and Answers;

            2.     Lackore’s Motion to Suppress Evidence Obtained as
                   a Result of Search and Seizure;

            3.     Gutz’s Motion to Suppress Statements, Admissions,
                   and Answers; and
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             4.    Gutz’s Motion to Suppress Evidence Obtained as a
                   Result of Search and Seizure.

A Hearing on the Motions was conducted on September 30, 2008, at which time, Gutz

appeared personally, and by Douglas A. Myren, Esq.; Lackore appeared personally,

and by Mark D. Larsen and Sara Stroble, Esqs.; and the Government appeared by

Nancy E. Brasel, Assistant United States Attorney.

      For reasons which follow, we recommend that Lackore’s Motion to Suppress

Statements, Admissions, and Answers be denied as moot, and that Lackore’s Motion

to Suppress Evidence Obtained as a Result of Search and Seizure be denied. We

further recommend that Gutz’s Motion to Suppress Statements, Admissions, and

Answers be deferred, pending the completion of a psychological evaluation, if Gutz

files such a Motion which, we understood, would be filed shortly after the Motions

Hearing.1 As to Gutz’s Motion to Suppress Evidence Obtained as a Result of Search

and Seizure, we recommend that the Motion be denied.




      1
       We do not intend to afford Gutz an indefinite extension to file any Motion for
the conduct of a psychological or psychiatric examination. Therefore, by separate
Order, we direct counsel for Gutz to advise this Court, forthwith, as to whether Gutz
intends to proceed with the conduct of a psychiatric evaluation, and how Gutz intends
to proceed, if at all, with his Motion to Suppress his statements to law enforcement.

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                               II. Factual Background

      The Defendants are both charged with one Count of Conspiracy to Distribute

Methamphetamine, in violation of Title 18 U.S.C. §§841(a)(1), 841(b)(1)(A), and 846;

one Count of Possession with Intent to Distribute Methamphetamine, in violation of

Title 18 U.S.C. §§841(a)(1) and 841(b)(1)(B); and one Count of Possession of a

Firearm in Furtherance of a Drug Trafficking Offense, in violation of Title 18 U.S.C.

§§941(c)(1)(A) and 941(c)(2). In addition, Gutz is charged with one Count of being

a Felon in Possession of a Firearm, in violation of Title 18 U.S.C. §§922(g)(1) and

924 (a)(2). The events that gave rise to those charges are said to have occurred from

in or about 2007, through on or about June 25, 2008, in this State and District. As

pertinent to the charges, and to the Motions now before us, the operative facts may be

briefly summarized.2

      2
        Rule 12(d), Federal Rules of Criminal Procedure, provides that “[w]hen factual
issues are involved in deciding a motion, the court must state its essential findings on
the record.” See, United States v. Santiago, 410 F.3d 193, 198 (5th Cir. 2005), cert.
denied, 126 S.Ct. 1565 (2006). As augmented by our recitation of factual findings in
our “Discussion,” the essential factual findings, that are required by the
Recommendations we make, are contained in this segment of our Opinion. Of course,
these factual findings are preliminary in nature, are confined solely to the Motions
before the Court, and are subject to such future modification as the subsequent
development of the facts and law may require. See, United States v. Moore, 936 F.2d
287, 288-89 (6th Cir. 1991); United States v. Prieto-Villa, 910 F.2d 601, 610 (9th Cir.
1990).

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      At the Hearing, John M. Nordberg, Jr. (“Nordberg”), who is a Special Agent

with the Minnesota Bureau of Criminal Apprehension (“BCA”), and who is the Case

Agent assigned to this matter, testified at the instance of the Government. In his

testimony, Nordberg stated that, on June 25, 2008, he received a telephone call from

Russell French (“French”), who is an officer with the Moose Lake Police Department.

French informed Nordberg that, on June 25, 2008, he received a citizen complaint of

suspicious activity, involving a particular vehicle. French located the vehicle, in the

area of Moose Lake which had been described by the concerned citizen, and made

contact with its occupants, who were later identified as Gutz and Lackore. Ultimately,

Gutz attempted to flee in that vehicle.

      During a subsequent high-speed chase, Gutz threw a number of items from the

vehicle, including a firearm. Nordberg testified that Gutz was eventually arrested in

Pine County, Minnesota, and transported to the Carlton County Jail. Nordberg further

testified that, on the same date, Lackore was arrested in Barnum, Minnesota, and

transported to the Carlton County Jail. According to Nordberg, Gutz informed

officers, during the course of his arrest, where they could find Lackore. Nordberg

testified that, after the Defendants’ arrests, the Carlton County Attorney’s Office

initiated criminal proceedings in State Court.

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      On June 26, 2008, Nordberg interviewed Gutz at the Carlton County Jail, with

the assistance of another officer. Nordberg attested that Gutz was advised of his rights

under Miranda v. Arizona, 384 U.S. 436 (1966), prior to the interview. During the

interview, Gutz informed Nordberg that Lackore was a co-conspirator in his

methamphetamine distribution business, in both Minneapolis and the Duluth-Superior

area. Gutz also informed Nordberg of his interest in working as an informant for the

BCA. Nordberg attested that, prior to the interview, he knew that Gutz had previously

worked as an informant for several other law enforcement agencies, including the St.

Paul Police Department and the Drug Enforcement Administration (“DEA”), but that

he subsequently learned that Gutz was not an active informant with any agency, at the

time of his arrest. According to Nordberg, French learned of Gutz’s history as an

informant on June 25, 2008, from Mike Meyer (“Meyer”), who is an investigator with

the St. Paul Police Department, and from Terry Olstad (“Olstad”), who is a Special

Agent with the DEA.

      Nordberg testified that Gutz contacted both Meyer and Olstad, after his arrest,

in order to express his interest in serving as an informant. Accordingly, Nordberg

spoke with Meyer, after Gutz’s interview, to inquire into Gutz’s work as an informant.

According to Nordberg, Meyer advised that he did not intend to make use of Gutz as

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an informant. Nordberg also testified that he has since learned that Gutz was never

formally processed to become an informant for the DEA.

      Some time after Nordberg’s interview with Gutz, Gutz’s mother contacted

Nordberg, and asked him to visit her son at the Carlton County Jail. At that time,

Nordberg knew that the United States Attorney’s Office was considering Federal

charges against Gutz and Lackore. Accordingly, Nordberg visited Gutz at the Carlton

County Jail, and advised him of the possibility of a Federal prosecution. According

to Nordberg, Gutz again expressed his interest in working as an informant.

      Nordberg testified that he made contact with Gutz for the third time, when he

and French transported Gutz from the Carlton County Jail to Minneapolis, for his

initial appearance on Federal charges. According to Nordberg, during the trip, Gutz

told Nordberg and French that he had received a letter from Lackore, which disclosed

her knowledge that a firearm had been in the vehicle on the date of their arrest. See,

Government Exhibit 4.3 Gutz gave the letter to Nordberg, and asked him to read it.

In pertinent part, the letter states, “I’m sorry I ever insisted on having that gun with

us but It [sic] made me feel safer and baby thats [sic] hard for me to admit.” Nordberg


      3
      At the Hearing, the Government proffered Lackore’s letter as an Exhibit,
without objection from the Defendants.

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attested that he read the letter and, upon their arrival in Minneapolis, he made a copy

of the letter, and then returned the original to Gutz.

      In his testimony, Nordberg stated that he did not instruct Gutz to elicit the letter,

or any other evidence from Lackore, nor did he instruct Gutz to initiate any contact

with Lackore. He further testified that he was not aware of any no-contact Order,

between Gutz and Lackore, and that he did not instruct Gutz to cease all contact with

Lackore. Nordberg also testified that, although Gutz has continually expressed his

interest in working as an informant, Gutz has never worked as an informant for the

BCA. Nordberg stated that the BCA considered using Gutz as an informant, but

ultimately decided against it, given Gutz’s criminal history.

      Lastly, upon cross-examination, Nordberg acknowledged that Lackore had been

appointed counsel in the State criminal proceeding, although he could not recall when

Lackore made her initial appearance in State Court. Nordberg also testified that he

had a brief conversation with Lackore’s State Public Defender, after Lackore’s initial

appearance in State Court, in order to advise that the case had been presented to the

United States Attorney’s Office for possible Federal charges.

      We turn to consider the Defendants’ Motions.




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                                    III. Discussion

      A.     Lackore’s Motion to Suppress Statements, Admissions, and Answers.

             With respect to Lackore’s Motion to Suppress Statements, the

Government advises that it is unaware of any custodial statements which were made

by Lackore, and accordingly, it does not intend to make use of any such statements

at Trial. Therefore, we recommend that the Motion be denied, as moot.

      B.     Lackore’s Motion to Suppress Evidence.

             1.     Standard of Review. Government agents are not required to

administer Miranda warnings to everyone whom they question. See, Oregon v.

Mathiason, 429 U.S. 492, 495 (1977). Rather, Miranda warnings are required for

official interrogations where a person has been “‘taken into custody or otherwise

deprived of his freedom of action in any significant way.’” Stansbury v. California,

511 U.S. 318, 322 (1994), quoting Miranda v. Arizona, 384 U.S. 436, 444 (1966);

United States v. Helmel, 769 F.2d 1306, 1320 (8th Cir. 1985); Berkemer v. McCarty,

468 U.S. 420, 428-29 (1984).

      The Sixth Amendment additionally provides that, “[i]n all criminal trials, the

accused shall enjoy the right * * * to have the assistance of counsel for his defense.”

This right to counsel attaches “at or after the initiation of adversary judicial criminal

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proceedings -- whether by way of formal charge, preliminary hearing, indictment,

information, or arraignment” and, once invoked, the right cannot be waived in a

subsequent police-initiated custodial interview. See, Kirby v. Illinois, 406 U.S. 682,

689 (1972); see also, Michigan v. Jackson, 475 U.S. 625, 636 (1986). “In a line of

cases involving incriminating statements made to police informants, the Supreme

Court has held that an individual who stands indicted of a crime is denied his right to

counsel when agents of the state circumvent that right by ‘deliberately elicit[ing]’

inculpatory statements from him in the absence of his counsel, absent a voluntary and

knowing waiver.” Bey v. Morton, 124 F.3d 524, 528 (3rd Cir. 1997), citing Michigan

v. Harvey, 494 U.S. 344, 348-49 (1990), Kuhlmann v. Wilson, 477 U.S. 436, 457

(1986), Maine v. Moulton, 474 U.S. 159, 173 (1985), United States v. Henry, 447

U.S. 264, 270 (1980), and Massiah v. United States, 377 U.S. 201, 206 (1964). This

protection applies to “‘indirect and surreptitious interrogations as well as those

conducted in the jailhouse[.]’” Id. at 528-29, quoting Massiah v. United States, supra

at 206; see also, Moore v. United States, 178 F.3d 994, 999 (8th Cir. 1999), cert.

denied, 528 U.S. 943 (1999); United States v. Williams, 2007 WL 3037349 at *4 (D.

Minn., October 16, 2007).




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      As noted by the Bey Court, “[t]he deliberate elicitation doctrine was first

recognized in Massiah, where the defendant, released on bail, made numerous

incriminating statements to his codefendant, who had agreed to act as a government

informant and had permitted the installation of a surveillance device in his

automobile.” Id. at 528, citing Massiah v. United States, supra at 206. In Massiah,

the Supreme Court ultimately held that the defendant’s confession had been

“‘deliberately elicited’ by the police in violation of both the Fifth and Sixth

Amendments.” Id. at 528-29, quoting Massiah v. United States, supra at 206.

             2.    Legal Analysis. In her Motion to Suppress Evidence, Lackore

challenges the letter, which she sent to Gutz, based upon her contention that Gutz was

acting as an agent of law enforcement, in violation of her Sixth Amendment right to

counsel. According to Lackore, Gutz intends to invoke his Fifth Amendment

privilege against testimony, and the Government refuses to compel his testimony, by

way of a grant of immunity. Accordingly, Lackore seeks an adverse inference

instruction for the Jury that, if Gutz were to testify, his testimony would be adverse

to the Government, concerning Gutz’s alleged status as an informant.

      However, in order to prevail upon her claim of a Massiah violation, Lackore

“need[s] to show that [her] right to counsel had attached, that [Gutz] was a

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government agent, and that [Gutz] deliberately elicited incriminating statements from

[her].” Moore v. United States, supra at 999; see also, United States v. Williams,

supra at *4 (citing same). Here, there does not appear to be any dispute that Lackore’s

right to counsel had attached, by virtue of the State Court proceedings, and

accordingly, we turn to consider whether Gutz was acting as a government agent.

      “An informant becomes a government agent for purposes of [Massiah] only

when the informant has been instructed by the police to get information about the

particular defendant.” United States v. Johnson, 338 F.3d 918, 921 (8th Cir. 2003)

[emphasis added], cert. denied, 543 U.S. 829 (2004), quoting Moore v. United States,

supra at 999, quoting, in turn, United States v. Birbal, 113 F.3d 342, 346 (2nd Cir.

1997)(collecting cases). Here, the Government denies that Gutz was a government

agent, at the time that he received Lackore’s letter, and there is nothing in the Record

to support Lackore’s claim to the contrary. See, United States v. Skorniak, 208 F.3d

219, 219, 2000 WL 297071 at *1 (8th Cir. 2000)[Table disposition]; United States v.

Eye, 2008 WL 1776402 at *6-7 (W.D. Mo., April 15, 2008). Nordberg testified

unequivocally that he had never instructed Gutz to elicit information from Lackore,

and he further testified that Gutz had never worked as an informant for the BCA. Nor

is there any evidence, on this Record, that Gutz deliberately elicited the letter, and the

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statements contained therein, from Lackore, whether of his own accord, or at the

instruction of any law enforcement agent.

      Furthermore, we find Lackore’s argument, that the Government should be

compelled to grant Gutz immunity, or face an adverse instruction at Trial, to be

entirely without merit. “It is well settled that an accused’s right to compulsory process

must yield to a witness’s Fifth Amendment privilege not to give testimony that would

tend to incriminate him or her.” United States v. Jones, 512 F.3d 1007, 1008-09 (8th

Cir. 2008), quoting United States v. Blaylock, 421 F.3d 758, 770 (8th Cir. 2005), cert.

denied, 546 U.S. 1126 (2006), quoting, in turn, United States v. Habhab, 132 F.3d

410, 416 (8th Cir. 1997). This is true even when the witness whose testimony is

sought is a co-defendant. See, United States v. Blaylock, supra at 770; United States

v. Velasquez, 141 F.3d 1280, 1282 (8th Cir. 1998), cert. denied, 525 U.S. 897 (1998).

Accordingly, “[Lackore’s] Sixth Amendment right to compulsory process does not

include the right to compel [Gutz] or any other witness to waive his or her Fifth

Amendment privilege against self-incrimination.”          Id., citing United States v.

Bowling, 239 F.3d 973, 976 (8th Cir. 2001), and United States v. Robaina, 39 F.3d

858, 862 (8th Cir. 1994), citing in turn Kastigar v. United States, 406 U.S. 441, 444

(1972).

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      Nor is the Government required to provide immunity to Gutz, in whole or in

part, so that Lackore can call Gutz as a witness. See, United States v. Bowling, supra

at 976-77 (observing that “[i]t is well settled that ‘use immunity can only be granted

when it is formally requested by the Attorney General,’” and rejecting the defendant’s

argument that “the district court should have compelled the government to request

immunity for Small or the district court should have granted judicial immunity to

Small and limited the examination of Small to the events for which Bowling was on

trial”); see also, United States v. Campbell, 410 F.3d 456, 464 (8th Cir. 2005)(same),

cert. denied, 546 U.S. 966 (2005); United States v. Washington, 318 F.3d 845, 856 (8th

Cir. 2003)(same), cert. denied, 540 U.S. 899 (2003).

      In sum, we find no evidence that Gutz was acting as a government agent, or that

he deliberately elicited Lackore’s letter, before providing it to law enforcement. Nor

do we find any basis for Lackore’s claim that the Government is required to grant

immunity to Gutz, or else face the consequences of an adverse instruction. Therefore,

we recommend that Lackore’s Motion to Suppress Evidence be denied in its entirety.4

      4
       At the Hearing, the Government advised that a Search Warrant was obtained,
and executed, for Lackore’s jail cell, and her property at the Sherburne County Jail,
and a number of letters, cards, and miscellaneous writings, were seized pursuant to
that Warrant. However, the Government represented that it does not intend to
introduce that evidence at Trial, and it further represented that it will make the letters,

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      C.     Gutz’s Motion to Suppress Statements, Admissions, and Answers.

             With respect to Gutz’s Motion to Suppress Statements, the Government

advises that Gutz made several custodial statements, which it intends to introduce at

Trial. However, at the Hearing, counsel for Gutz advised the Court of his intention

to file a Motion for a Psychological Evaluation, and he further advised that Gutz is

amenable to undergoing such an evaluation. Accordingly, counsel for Gutz asked that

we defer any ruling on his Motion to Suppress Statements, until more information can

be obtained concerning Gutz’s psychological state.         We agree that such is the

appropriate course of action, and therefore, we recommend that a ruling on Gutz’s

Motion to Suppress Statements be deferred, pending the completion of a

psychological evaluation. As we have previously related, under separate Order, we

direct counsel for Gutz to make his intentions known, forthwith, with respect to the

conduct of a psychological evaluation, and how Gutz intends to advance his Motion

to Suppress his statements, if at all. See, footnote 1, supra.5


cards, and writings, available to Lackore’s counsel for review. Accordingly, to the
extent that Lackore implicitly seeks the suppression of that evidence, we recommend
that her Motion be denied, as moot.
      5
        By way of further background, on July 30, 2008, Gutz was originally
appointed counsel. See, Docket No. 8. After his original counsel had filed Gutz’s
pre-trial Motions, by Order dated September 16, 2008, we directed that substitute

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      D.     Gutz’s Motion to Suppress Evidence Obtained as a Result
             of Search and Seizure.

             Lastly, we note that Gutz has filed a Motion to Suppress Evidence

Obtained as a Result of Search and Seizure, which is not supported by any

memorandum, testimony, or exhibits, and which does not include any details which

would explain the basis for Gutz’s constitutional claim, nor identify which search, or

searches, Gutz purports to challenge. In connection with the criminal Complaint,

Nordberg provided a supporting Affidavit, in which he disclosed that, following

Gutz’s arrest, law enforcement obtained a Search Warrant for Gutz’s vehicle. See,

Complaint, Docket No. 1, Affidavit of John Nordberg at ¶4. A search of the vehicle

yielded 171 grams of a substance which field-tested positive for methamphetamine,

as well as packaging materials. Id. In addition,$10,000.00 in cash was recovered

from Gutz, and the vehicle. Id.

      Assuming that Gutz seeks to challenge the search of his person, and his vehicle,

we have not been provided with any basis to conclude that either search violated

Gutz’s Fourth Amendment rights. Of course, “[s]earches conducted without a warrant


counsel be appointed, based upon the original counsel’s conflict of interest. See,
Docket No. 66. In order to permit Gutz’s new counsel sufficient time to become
familiar with the case, we postponed the Suppression Hearing until September 30,
2008. See, Docket No. 100.

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are per se unreasonable, subject to a few well-established exceptions.” United States

v. Kennedy, 427 F.3d 1136, 1140 (8th Cir. 2005), citing United States v. Hill, 386 F.3d

855, 858 (8th Cir. 2004). The burden lies on the Government to establish the existence

of an exception to the Warrant requirement. Id.

      Nonetheless, one such exception is a search incident to a valid arrest. See, e.g.,

New York v. Belton, 453 U.S. 454, 461 (1981); Chimel v. California, 395 U.S. 752,

762 (1969); United States v. Klein, 13 F.3d 1182, 1184 (8th Cir. 1994), cert. denied,

512 U.S. 1226 (1994). As our Court of Appeals has explained:

             The authority to search the person incident to a lawful
             custodial arrest, while based upon the need to disarm and to
             discover evidence, does not depend on what a court may
             later decide was the probability in a particular arrest
             situation that weapons or evidence would in fact be found
             upon the person of the suspect.
Conrod v. Davis, 120 F.3d 92, 96 (8th Cir. 1997), cert. denied, 523 U.S. 1081 (1998),
citing United States v. Robinson, 414 U.S. 218, 235 (1973).

“A custodial arrest of a suspect based on probable cause is a reasonable intrusion

under the Fourth Amendment; that intrusion being lawful, a search incident to the

arrest requires no additional justification.” Id.; see also, Curd v. City Court of

Judsonia, Arkansas, 141 F.3d 839, 842 (8th Cir. 1998)(“Warrantless searches incident

to a custodial arrest are ‘justified by the reasonableness of searching for weapons,



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instruments of escape, and evidence of crime when a person is taken into official

custody and lawfully detained.’”), quoting United States v. Edwards, 415 U.S. 800,

802-03 (1974). On this Record, we have no reason to conclude that the search of

Gutz’s person was unconstitutional, and we recommend that his Motion be denied in

this respect.

       Moreover, a search incident to arrest may include all areas within the immediate

control of the person, including the passenger compartment of an automobile occupied

by an arrestee at the time of his arrest. See, New York v. Belton, supra at 460. The

scope of a permissible vehicle search extends to all containers within the passenger

compartment of the automobile, including “glove compartments, consoles, and other

receptacles located anywhere within the passenger compartment, as well as luggage,

boxes, bags, and the like.” Id. at 1261, n. 4; accord, United States v. McCready, 774

F.2d 868, 871-872 (8th Cir. 1985)(glove compartment); see also, United States v.

Pogemiller, 375 F.3d 686, 688 (8th Cir. 2004)(trap door which leads to an area

connecting the trunk of the vehicle to the vehicle’s back seat); United States v.

Caldwell, 97 F.3d 1063, 1067 (8th Cir. 1996)(hatchback area); United States v. Veras,

51 F.3d 1365, 1372 (7th Cir. 1995) (secret compartments located within the back seat).

Further, an officer need not have had contact with an arrestee prior to his exit from the

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vehicle, so long the search of the automobile is contemporaneous with the arrest.

United States v. Pogemiller, supra at 687, citing Thornton v. United States, 541 U.S.

615 (2004).

       Here, however, law enforcement obtained a Search Warrant before searching

Gutz’s vehicle. The Warrant has not been provided for our review, nor are we able

to ascertain, on this Record, any basis for suppressing the evidence which was

recovered as a result of that Warrant. Accordingly, we recommend that Gutz’s

Motion to Suppress Evidence Obtained as a Result of Search and Seizure be denied,

in its entirety.6

       NOW, THEREFORE, It is --

       RECOMMENDED:

       1.     That Lackore’s Motion to Suppress Statements, Admissions, and

Answers [Docket No. 27] be DENIED, as moot.




       6
       While we allow for the potential that Gutz wanted a deferral on this Motion as
well, unlike his Motion to Suppress his Statements, he has not made that intention
known to this Court. Nonetheless, if Gutz wishes to pursue his Motion to Suppress
the evidence obtained by search and seizure, we are prepared to consider such
evidence as the parties submit to the Court. However, in the interests of expedition,
we have issued this Report and Recommendation on the basis of the evidence
submitted at the Motions Hearing, and on their express representations to the Court.

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      2.      That Lackore’s Motion to Suppress Evidence Obtained as a Result of

Search and Seizure [Docket No. 28] be DENIED.

      3.      That Gutz’s Motion to Suppress Statements, Admissions, and Answers

[Docket No. 55] be DEFERRED, pending the completion of a psychological

evaluation.

      4.      That Gutz’s Motion to Suppress Evidence Obtained as a Result of Search

and Seizure [Docket No. 61] be DENIED.



Dated: October 9, 2008                           s/Raymond L. Erickson
                                                 Raymond L. Erickson
                                                 CHIEF U.S. MAGISTRATE JUDGE


                                      NOTICE

      Pursuant to Rule 45(a), Federal Rules of Criminal Procedure, D. Minn.

LR1.1(f), and D. Minn. LR72.2(b), any party may object to this Report and

Recommendation by filing with the Clerk of Court, and by serving upon all parties by

no later than October 27, 2008, a writing which specifically identifies those portions

of the Report to which objections are made and the bases of those objections. Failure




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to comply with this procedure shall operate as a forfeiture of the objecting party's right

to seek review in the Court of Appeals.

      If the consideration of the objections requires a review of a transcript of a

Hearing, then the party making the objections shall timely order and file a complete

transcript of that Hearing by no later than October 27, 2008, unless all interested

parties stipulate that the District Court is not required by Title 28 U.S.C. §636 to

review the transcript in order to resolve all of the objections made.




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